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                        UNITED STATES DISTRICT COURT
                           DISTRICT OF MINNESOTA


Armon Nahal,


Plaintiff,

-vs-                                                        18-cv-631 DWF/KMM


Allina Health System,


Defendant.

                                  COST JUDGMENT

The costs of the Defendant, Allina Health System, have been taxed and allowed by the
Clerk of this Court against the Plaintiff, Armon Nahal, as follows:

                                                   Claimed Allowed
                  Fees for Transcripts             $1,889.85 $1,838.35
                                         Total     $1,889.85 $1,838.35

Costs, therefore, are taxed against the Plaintiff, Armon Nahal, in the amount of $1,838.35
and judgment is entered accordingly. Motion for review of the Clerk’s decision may be
made within 14 days hereafter in accordance with Local Rule 54.3(c).

Dated at St. Paul, Minnesota, on April 16, 2020.

                                                     KATE M. FOGARTY, CLERK

                                                     By: s/ M. Vicklund

                                                     M. Vicklund
                                                     Deputy Clerk
